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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


RENWICK CLIVENS, ET AL.                                CIVIL ACTION

VERSUS                                                 No. 17-4885

RAY BRANDT NISSAN, INC.                                SECTION: “J”(4)


                                         ORDER

      Considering the Joint Stipulation of Dismissal (Rec. Doc. 30),

      IT IS HEREBY ORDERED that the claims and causes of action asserted by

all Plaintiffs, Renwick Clivens, Harold Seals, Louis Roach, Norman Jackson, Jeffrey

Henderson, and Rodney Bridges, against Defendant, Ray Brandt Nissan, Inc., in the

above-captioned matter are DISMISSED WITH PREJUDICE in their entirety,

with each party to bear its own costs.

      New Orleans, Louisiana, this 9th day of September, 2019.




                                         CARL J. BARBIER
                                         UNITED STATES DISTRICT JUDGE
